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                            THE UNITED STATES DISTRICT COURT

                                       DISTRICT OF UTAH


     RUSSELL G. GREER,                                      MEMORANDUM DECISION
                                                                AND ORDER
           Plaintiff,
                                                          Case No. 2:20-cv-00647-DBB-JCB
     v.

     JOSHUA MOON, publisher of the website                   District Judge David Barlow
     Kiwi Farms; and KIWI FARMS, a website,
                                                          Magistrate Judge Jared C. Bennett
           Defendants.


          District Judge David Barlow referred this case to Magistrate Judge Jared C. Bennett

 under 28 U.S.C. § 636(b)(1)(B). 1 On March 20, 2024, the court granted Defendants Joshua

 Moon and Kiwi Farms’s (“Defendants”) motion to transfer this case to the Northern District of

 Florida. 2 The following day, the Northern District of Florida electronically received this case. 3

          Now before the court are two motions filed by pro se Plaintiff Russell G. Greer (“Mr.

 Greer”): (1) a motion to reconsider the order granting the motion to transfer pursuant to Fed. R.

 Civ. P. 60(b)(1) 4 and; (2) a motion to vacate the order granting the motion to transfer pursuant to

 Fed. R. Civ. P. 59(e). 5




 1
     ECF No. 67.
 2
     ECF No. 97.
 3
     ECF No. 100.
 4
     ECF No. 98.
 5
     ECF No. 103.
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          This court lost jurisdiction to review such motions when the Northern District of Florida

 received this case file. “Once the files in a case are transferred physically to the court in the

 transferee district, the transferor court loses all jurisdiction over the case, including the power to

 review the transfer.” 6 Thus, on March 21, 2024, the day that the Northern District of Florida

 received the record in this case, this court’s jurisdiction was terminated. Although Mr. Greer filed

 his motion to reconsider on March 20, 2024—the day the court granted the motion to transfer but

 before the Florida court had received the case record—this did not stay the transfer or preserve

 the District of Utah’s jurisdiction. 7

          Mr. Greer mentions that the Court of Appeals for the Tenth Circuit has stated that “the

 preferred approach is to delay physical transfer of the papers in the transferred case” to allow

 time for the party to seek reconsideration or appellate review of the transfer. 8 However desirable

 this approach might be, this court has not adopted a rule automatically staying the transfer of a

 case, nor is it this court’s practice to wait a certain number of days before electronically sending

 the case record to the transferee court. Consequently, the court lost jurisdiction over this matter

 on March 21, 2024, and cannot review Mr. Greer’s motions. Therefore, the court DENIES AS




 6
   Chrysler Credit Corp. v. Country Chrysler, Inc., 928 F.2d 1509, 1516-17 (10th Cir. 1991)
 (citing Roofing & Sheet Metal Serv., 689 F.2d 982, 988-89 n.10 (11th Cir. 1982); In Re Nine Mile
 Limited, 673 F.2d 242, 243 (8th Cir. 1982); In re Southwestern Mobile Homes, 317 F.2d 65, 66
 (5th Cir. 1963)).
 7
     See, e.g., Drabik v. Murphy, 246 F.2d 408, 409 (2nd Cir. 1957).
 8
     Chrysler, 928 F.2d at 1517.

                                                    2
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 MOOT Mr. Greer’s motion to reconsider 9 and motion to vacate 10 this court’s decision to transfer

 this case to the Northern District of Florida.

          IT IS SO ORDERED.

          DATED this 22nd day of April 2024.

                                                  BY THE COURT:




                                                  JARED C. BENNETT
                                                  United States Magistrate Judge




 9
     ECF No. 98.
 10
      ECF No. 103.

                                                     3
